        Case 8:24-cv-01655-FWS-SSC                     Document 14         Filed 08/02/24       Page 1 of 5 Page ID
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                            Plaintiff(s)
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                      Defendant(s)


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<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW

                                                                             Brian D. Karth
                                                                            CLERK OF COURT
                                                              Jenny

'DWH      August 2, 2024                                                    /s/    Jennylam
                                                                                       Signature of Clerk or Deputy Clerk
         Case 8:24-cv-01655-FWS-SSC                         Document 14         Filed 08/02/24           Page 2 of 5 Page ID
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                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
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